Case 2:05-cr-20203-.]PI\/| Document 32 Filed 08/02/05 Page 1 of 2 Page|D 50

HRED BY_* nfl
IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
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WES'.I.'ERN DIVISION 05 AUG 2 PH 3 39

 

THOW\S M. GOULD
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UNITED STATES OF AMERICA

Plaintiff,

Vv~._/-._’\-._/~._/

cR. NO. 05~20202-1~41 st
05-20203-Mi/

VS.

-._r

 

BARRY MYERS

Defendant.

-_/\-._,V-._rv

 

ORDER ON CHANGE OF PLEA

 

This cause came to be heard on August 1, 2005, the United States
Attorney for this district, Tim DiScenza, appearing for the Government and
the defendant, Barry Myers, appearing in person and with counsel, Leslie
Ballin, who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered pleas of guilty as to Count 1 of Indictment
05-20202 and as to Count 1 of Indictment 05-20203.

Plea colloquy was held and the Court accepted the guilty pleas.

SENTENCING in these cases is SET for FRIDAY, FEBRUARY 17, 2006, at
4:00 p.m., in Courtroom No. 4, on the 9th floor before Judge Jon Phipps
McCalla.

Defendant is allowed to remain released on present bond.

ENTERED this the 02 day of August, 2005.

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PHIPPS MCCALLA
ITED STATES DISTRICT JUDGE

 

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UNITED S`TATE DRISTIC COURT - WESTERN D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
case 2:05-CR-20203 Was distributed by faX, mail, or direct printing on
August 3, 2005 to the parties listed.

 

 

Timothy R. DiScenZa

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Honorable J on McCalla
US DISTRICT COURT

